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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON




CHRISTINE LUCZKOW
            Plaintiff,                                     Civil Action-No.3:20-CV-02089-CL
 vs ..

                                                            ORDER GRANTING AWARD
COMMISSIONER of Social Security,                            OFEAJAFEES
           Defendant                        I

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ORDER

       Based upon the Plaintiffs Petition, the Equal Access to Justice Act (EAJA), 28 U.S.C. §

2412(d)(l)(A) the assignment ofEAJA fees to Plaintiffs attorney by Plaintiff, as discussed in

Astrue v Ratliff. 130 S. Ct. 2521U.S. (2010). and 28 U.S.C. § 1920 it is hereby ordered that

EAJA attorney's fees of $6,076.69, if not subject to any offset allowed under the U.S.

Department of the Treasury's Offset Program as discussed in Ratliff sh

and mailed to the attorney's office.

       Ordered this     26 day of October, 2021.
                                                                                                 \i
                                                        ark
                                            .United States Magistrate Judge
Presented by:

s/Lisa R. Lang
Lisa R.J. Porter Lang, OSB 025035
Attorney for Plaintiff
5200 SW Meadows Rd., Suite 150
Lake Oswego, OR 97035
